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 4
     Attorney for Defendant: ANTONIA MARTINEZ
 5
 6
 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                     )          Cr. S-07-234 LKK
11                                                 )
                                      Plaintiff,   )
12                                                 )
                         v.                        )
13                                                 )      Order re SUBSTITUTION OF
     ANTONIA MARTINEZ,                             )      COUNSEL
14                                                 )
                                 Defendant,        )
15                                                 )
16         Notice is hereby given that, subject to the approval of the court, ANTONIA
17   MARTINEZ, defendant in the above entitled matter, and pursuant to Rule 83.182(g) of
18   the Local Rules of the United States District Court for the Eastern District of California,
19   accepts and substitutes appointed counsel, Christopher Haydn-Myer, 1809 19th Street,
20   Sacramento, California 95814 for Steven D. Bauer as attorney of record in the above
21   captioned case.
22   Dated: August 18, 2009                               Respectfully submitted,
23   I accept the above substitution.
24   Dated: August 18, 2009
25                                                        By: ___________________
                                                          ANTONIA MARTINEZ
26
     (Additional Signatures and Order on Following Page)
27
28
        Case 2:07-cr-00234-TLN Document 102 Filed 08/21/09 Page 2 of 2


 1   I accept the above substitution.
 2   Dated: August 17, 2009                             STEVEN D. BAUER
 3
 4
                                                        By: / s / Steven D. Bauer
 5                                                      STEVEN D. BAUER
 6   I accept the above substitution.
 7   Dated: August 18, 2009                             By: / s / Christopher Haydn-Myer
                                                        CHRISTOPHER HAYDN-MYER
 8
     For good Cause Appearing
 9
     IT IS SO ORDERED
10
     Dated: August 19, 2009
11
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14   (Note: Document with original signature in counsel’s file)
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